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                              IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH


     SUNSTONE ENGINEERING, LLC, a                              MEMORANDUM DECISION AND
     Utah limited liability company,                                   ORDER

                 Plaintiff,                                     Case No. 2:24-cv-00334-RJS-CMR
     v.
                                                               Chief District Judge Robert J. Shelby
     PEPE TOOLS INC., an Oklahoma
     corporation, d/b/a PEPETOOLS, INC.,                        Magistrate Judge Cecilia M. Romero

                 Defendant.


             Before the court is Defendant Pepe Tools, Inc.’s (Pepetools) Motion to Transfer Venue. 1

 Having reviewed the Motion and all associated briefing, the court GRANTS the Motion.

                                                  BACKGROUND

             This action relates to Pepetools’ alleged infringement of Plaintiff Sunstone Engineering,

 LLC’s (Sunstone) intellectual property.

             Sunstone is a Utah limited liability company with its principal place of business in Utah. 2

 Sunstone develops, manufactures, distributes, and sells micro-welding technologies and products

 tailored to multiple industries, including the permanent jewelry industry. 3 For context,

 permanent jewelry refers to a piece of jewelry, commonly a bracelet or necklace, that is secured

 by welding two ends of the piece together, rather than by using a clasp, 4 and a specialized micro-




 1
     Dkt. 48, Defendant’s Motion to Transfer Venue and Memorandum in Support (Motion).
 2
     See Dkt. 44, Second Amended Complaint ¶ 4.
 3
     Id. ¶ 13.
 4
     Id. ¶ 14.
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 welding device is often used to create the weld that secures a piece of permanent jewelry. 5 Since

 at least December 2019, Sunstone has maintained a website that houses certain Terms and

 Conditions (the Terms). 6 These Terms purportedly bind all buyers of Sunstone’s goods, though

 Sunstone describes the Terms as a “browesewrap agreement,” suggesting customers are not

 required to view or assent to the Terms when making a purchase from Sunstone’s website. 7

             Pepetools is an Oklahoma corporation with its primary place of business in Oklahoma. 8

 It manufactures and distributes micro-metal forming tools, including permanent jewelry

 welders. 9 In 2020, Pepetools entered the permanent jewelry market and established a

 distribution relationship with Sunstone, whereby Pepetools offered Sunstone’s permanent

 jewelry welders for sale to Pepetools’ existing customer base. 10 However, in January 2023, the

 parties were unable to reach an agreement on the terms of a Distribution Agreement and

 Intellectual Property Use Agreement proposed by Sunstone. 11 The parties thereafter ended their

 distributor relationship, 12 and Pepetools began offering its own permanent jewelry welders for

 sale. 13 It is Pepetools’s launch and sales of a competing micro-welding device—the Helix—that




 5
     Id.
 6
     Dkt. 52-3, Declaration of Andy Jensen ¶ 4; Dkt. 52-4, Terms and Conditions.
 7
     Opposition at 9 (“Sunstone’s Terms and Conditions constitute a . . . ‘browsewrap’ agreement.”).
 8
  Id. ¶ 5; Motion at 1 (citing Dkt. 49, Declaration of David Aizenman in Support of Defendant Pepe Tools, Inc.’s
 Motion to Transfer Venue (Aizenman Decl.) ¶ 3).
 9
     Aizenman Decl. ¶¶ 4–5.
 10
      Id. ¶ 9.
 11
      Id. ¶¶ 13–18.
 12
      See Dkt. 52, Opposition to Defendant’s Motion to Transfer Venue and Memorandum in Support (Opposition) at 3.
 13
      Aizenman Decl. ¶ 21.


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 is the focus of this lawsuit. 14 Sunstone alleges the Helix employs many of Sunstone’s

 trademarks. 15

            In October 2023, after Sunstone accused it of infringing its intellectual property,

 Pepetools filed a lawsuit in the Western District of Oklahoma seeking a declaratory judgment of

 non-misappropriation of trade secrets, breach of contract, violation of the Oklahoma Deceptive

 Trade Practices Act, and violation of Oklahoma Statutes regarding prohibited communications

 related to patent infringement. 16 In May 2024, Sunstone brought this action in the District of

 Utah and asserted the following claims against Pepetools:

            1. Federal Trademark Infringement under 15 U.S.C. § 1125(a);

            2. Federal Unfair Competition and False Designations of Origin and False and

                Misleading Representations under 15 U.S.C. § 1125(a);

            3. Federal Trademark Dilution under 15 U.S.C. § 1125(c);

            4. State Trademark Dilution under Utah Code § 70-3a-403;

            5. State Unfair Competition under Utah Code § 13-5a-101 et seq.;

            6. State Deceptive Trade Practices under Utah Code § 13-11a-1 et seq.;

            7. Utah Common Law Trademark Infringement; and

            8. Utah Common Law Unfair Competition.17

 This action originally related to only Defendant’s alleged infringement of two of Sunstone’s

 pieces of intellectual property: a PERMANENT JEWELRY WELDER trademark, and the trade




 14
      See Opposition at 2–3.
 15
      Id.
 16
      Dkt. 48-1, Case No.: CIV-23-907-D Demand for Jury Trial ¶¶ 42–80.
 17
      Dkt. 2, Complaint ¶¶ 56–140.


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 dress of a stylus or grip of Sunstone’s micro welder. 18 But after this court denied Sunstone’s

 Motion for Temporary Restraining Order, Sunstone amended its Complaint and added

 allegations that Pepetools infringed three additional trademarks: the Orion Mark, the Sunstone

 Mark, and the mPulse mark. 19 Sunstone also added additional claims for contributory trademark

 infringement and cybersquatting under Utah and federal law. 20

             Pepetools filed the present Motion in November 2024 seeking to transfer this case to the

 Western District of Oklahoma, where its original action is still outstanding. 21 The Motion is

 fully briefed and ripe for review. 22

                                                 LEGAL STANDARD

             Under 28 U.S.C. § 1404(a), a district may transfer an action “[f]or the convenience of

 parties and witnesses, [and] in the interest of justice, . . . to any other district or division where it

 might have been brought.” Ordinarily, a motion to transfer under § 1404(a) requires a district

 court to “evaluate both the convenience of the parties and various public-interest

 considerations.” 23 Courts often consider the following discretionary factors:

             [1] the plaintiff's choice of forum; [2] the accessibility of witnesses and other sources of
             proof, including the availability of compulsory process to insure attendance of witnesses;
             [3] the cost of making the necessary proof; [4] questions as to the enforceability of a
             judgment if one is obtained; [5] relative advantages and obstacles to a fair trial; [6]
             difficulties that may arise from congested dockets; [7] the possibility of the existence of
             questions arising in the area of conflict of laws; [8] the advantage of having a local court




 18
      Id. ¶ 2.
 19
      See Second Amended Complaint ¶¶ 38–40, 54–56.
 20
      Id. ¶¶ 182–223.
 21
      See Motion.
 22
      See Opposition; Dkt. 53, Defendant’s Reply in Support of Motion to Transfer Venue (Reply).
 23
      Atlantic Marine Const. Co., Inc. v. U.S. Dist. Court for W. Dist. of Tex., 571 U.S. 49, 62 (2013).


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             determine questions of local law; and [9] all other considerations of a practical nature that
             make a trial easy, expeditious and economical. 24

 Ultimately, a district court has broad discretion “to adjudicate motions for transfer according to

 an ‘individualized, case-by-case consideration of convenience and fairness.’” 25

             But when the decision to transfer involves a valid forum-selection clause, the standard

 changes in three ways. “First, the plaintiff’s choice of forum merits no weight . . . [and] the party

 defying the forum-selection clause . . . bears the burden of establishing that transfer to the forum

 for which the parties bargained is unwarranted.” 26 Second, the court does “not consider

 arguments about the parties’ private interests,” and the court “must deem the private-interest

 factors to weigh entirely in favor of the preselected forum.” 27 Third, “a § 1404(a) transfer of

 venue will not carry with it the original venue’s choice-of-law rules . . . .” 28 Notably, “[w]hen

 the parties have agreed to a valid forum-selection clause, a district court should ordinarily

 transfer the case to the forum specified in that clause. Only under extraordinary circumstances

 unrelated to the convenience of the parties should a § 1404(a) motion be” used to escape the

 preselected forum. 29




  Employers Mut. Cas. Co. v. Bartile Roofs, Inc., 618 F.3d 1153, 1167 (10th Cir. 2010) (citing Chrysler Credit
 24

 Corp. v. Country Chrysler, Inc., 928 F.2d 1509, 1516 (10th Cir. 1991)).
 25
      Chrysler Credit Corp., 928 F.2d at 1516 (citing Stewart Org. v. Ricoh Corp., 487 U.S. 22, 29 (1988)).
 26
      Atlantic Marine Const. Co., Inc., 571 U.S. at 63.
 27
      Id. at 64.
 28
      Id.
 29
      Id. at 62.


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                                                       ANALYSIS

            Pepetools, as the party “bear[ing] the burden of establishing that the existing forum is

 inconvenient,” 30 argues the ordinary venue factors weigh in favor of transfer. 31 In response,

 Sunstone argues, among other things, the parties entered into a valid forum-selection clause

 pursuant to a “browsewrap” agreement, which designated Utah federal court as the proper forum

 for this lawsuit. 32 Pepetools contends it never assented to the terms of the browsewrap

 agreement, and it points to the earlier-filed case in the Western District of Oklahoma where a

 district judge found these Terms on Sunstone’s website could not be enforced against

 Pepetools. 33

            The court first addresses the threshold issue of whether the parties agreed to a forum-

 selection clause. Finding they did not, and because Sunstone makes no other arguments that it

 could not have brought this case in the Western District of Oklahoma in the first instance, 34 the

 court then analyzes the venue factors described above. Of the above-mentioned factors, the

 parties agree there is no significant difference between the two districts regarding the ability of

 the parties to receive a fair trial and any conflicts of law. Accordingly, the court addresses only




 30
      Scheidt v. Klein, 956 F.2d 963, 965 (10th Cir. 1992) (citation omitted).
 31
      See generally Motion.
 32
      See Opposition at 8–11.
 33
    Reply at 4–8; Pepe Tools, Inc. v. Sunstone Eng’g, LLC, No. CIV-23-907-D, 2024 WL 3263844 (W.D. Okla. July
 1, 2024).
 34
   Besides attempting to enforce the forum-selection clause, Sunstone does not dispute Pepetools’ arguments that
 “[t]his case could . . . have been brought in the Western District of Oklahoma . . . in the first instance,” and “[p]roper
 venue has already been established in the WDO in a prior action . . . .” See Motion at 4; see also Pepe Tools, Inc.,
 2024 WL 3263844, at *8–9 (finding proper venue had been established in the Western District of Oklahoma).


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 the remaining factors to determine whether the case should be transferred for fairness and

 convenience. 35

        I.         The Forum-Selection Clause

             Sunstone claims certain “Sales Quotations, when acknowledged by Pepetools, together

 with the Terms and Conditions formed the entire agreement between the parties for their

 transactions.” 36 These Terms contain, among other things, a forum-selection clause designating

 Utah as the proper forum for “any dispute . . . arising out of or relating to” the Terms. 37 In

 attempting to subject Pepetools to the Terms, Sunstone points to a Declaration by Corbin

 Worthen where he explained how “purchase orders with Pepe Tools [were] often conducted via

 email correspondence.” 38 Mr. Worthen includes a sample email invoice sent to Pepetools in his

 declaration. 39 Critically missing from this email and invoice, however, is any reference to

 Sunstone’s Terms. Sunstone later clarifies in its briefing it seeks to extend the Terms to

 Pepetools by arguing the Terms constitute a “browsewrap” agreement. More specifically,




 35
    The court is not persuaded by Sunstone’s arguments that (1) Pepetools unreasonably delayed in bringing this
 Motion, and (2) the court already implicitly determined that Utah is the more appropriate forum for this action by
 analyzing the First-to-File Rule. See Opposition at 5–7. Regarding the first argument, the court issued its
 Scheduling Order on September 3, 2024, and Pepetools moved to transfer on November 29, 2024. See Dkt. 47,
 Scheduling Order. At the time of filing this Motion, no depositions had been set, no third-party subpoenas had been
 issued, and there were over six months left to complete fact discovery. The court finds Pepetools has not been
 dilatory with respect to the filing of its Motion as it was filed before the parties were actively litigating and
 conducting discovery. With respect to the second argument, the First-to-File Rule is governed by an entirely
 different standard than a motion brought under 28 U.S.C. 1404(a). In fact, at the hearing discussing the First-to-File
 Rule, the court indicated how it was likely that “everybody [would be] better off if you were in one court,”
 notwithstanding the Rule. Dkt. 36, Motion Hearing at 61.
 36
      Opposition at 8.
 37
      Terms and Conditions ¶ 24.
 38
      Declaration of Corbin Worthen ¶ 13.
 39
      Id. at 16.


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 Sunstone argues Pepetools should be bound by the Terms due to Pepetools’ awareness of the

 Terms’ existence and Pepetools’ ongoing willingness to purchase goods from Sunstone. 40

            While the Tenth Circuit has not yet opined on the enforceability of browsewrap

 agreements, basic principles of contract law provide “[t]here can be no contract absent ‘a

 manifestation of assent to an offer, such that an objective, reasonable person is justified in

 understanding that a fully enforceable contract has been made.’” 41 Even in the age of the

 internet, mutual manifestation of assent is essential in contract formation. And in the context of

 online consumer agreements, this court has clarified,

            [c]ourts have generally recognized four types of online consumer agreements: clickwrap,
            scrollwrap, sign-in wrap, and browsewrap. Clickwrap agreements require a user to agree
            to the terms and conditions before using a website or application . . . [and they] are
            generally enforceable agreements. Scrollwrap agreements require users to scroll through
            an online agreement and then click “I agree” to the terms. With sign-in-wrap agreements,
            users generally consent to the terms when they sign into an account or sign up for use of
            the site's services. With browsewrap agreements, the terms are documented somewhere
            on a retailer's website and purported to apply to a user by virtue of accessing that website
            or platform. To determine whether sign-in-wrap and browsewrap agreements are
            enforceable, courts engage in fact-intensive inquiries of the layout and language of a
            website or application. 42

            Sunstone asks the court to follow the Second Circuit’s approach to determine the binding

 effect of the browsewrap agreement by analyzing “whether the user has actual or constructive

 knowledge of a website’s terms and conditions,” 43 which would involve a fact-intensive

 inquiries of the layout and language of a website or application. 44 But the court does not reach


 40
      Opposition at 8–11.
 41
   Koch Indus., Inv. v. Does, No. 2:10CV1275DAK, 2011 WL 1775765, at *9 (D. Utah May 9, 2011) (citing Cal
 Wadsworth Const. v. City of St. George, 898 P.2d 1372, 1376 (Utah 1995) and Restatement (Second) of Contracts §
 19(2) (1981)).
 42
   Route App, Inc. v. Heuberger, No. 2:22-CV-291-TS-JCB, 2022 WL 2316377, at *3 (D. Utah June 28, 2022)
 (citations omitted).
 43
      Meyer v. Uber Techs., Inc., 868 F.3d 66, 75 (2d Cir. 2017) (citation omitted).
 44
      Route App, Inc., 2022 WL 2316377, at *3 (citations omitted).


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 this fact-intensive analysis. Critically missing from Sunstone’s briefing is any argument or

 allegation that Pepetools used Sunstone’s website to purchase and resell Sunstone’s products. 45

 In fact, Sunstone clarifies how “purchase orders with Pepe Tools [were] often conducted via

 email correspondence,” 46 not via Sunstone’s website. Inferring a party’s assent to a

 “browsewrap” agreement would at least require that party’s use of the website housing the

 agreement. 47

            Still, Sunstone focuses on three facts to demonstrate Pepetools’ awareness of the Terms:

 (1) the Terms were available on Sunstone’s website for the duration of the parties’ relationship;

 (2) Sunstone “directed Pepetools’ attention to the Terms on multiple occasions”; and (3)

 Sunstone emailed Pepetools excerpts of the Terms. 48 But awareness in the context of a

 browsewrap agreement, without more, does not constitute assent. The court is aware of no legal

 authority extending a “browsewrap” theory of assent to a party who never used the website

 housing the purported agreement. Thus, these allegations of awareness do not demonstrate

 Pepetools manifested its assent to the purported browesewrap agreement.




 45
   Notably, Sunstone’s Terms purport to bind only those “buyer[s] identified in the Sales Quotation and/or
 Acknowledgment [of a sale order] . . . to which these Terms are attached or incorporated by reference.” Dkt. 52-4,
 Terms and Conditions ¶¶ 1–2. And here, the parties point to no evidence that these Terms were incorporated into
 any agreement related to their distribution relationship, see Aizenman Decl. ¶ 12, nor does Sunstone argue for
 incorporation of the Terms by reference.
 46
      Declaration of Corbin Worthen ¶ 13.
 47
   See, e.g., Route App, Inc., 2022 WL 2316377, at *3 (“With browsewrap agreements, the terms are documented
 somewhere on a retailer's website and purported to apply to a user by virtue of accessing that website or platform.”);
 Meyer, 868 F.3d at 75 (“Because no affirmative action is required by the website user to agree to the terms of a
 contract other than his or her use of the website, the determination of the validity of the browsewrap contract
 depends on whether the user has actual or constructive knowledge of a website's terms and conditions.” (emphasis
 added) (citations omitted)).
 48
      Opposition at 10.


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            To the extent Sunstone argues Pepetools was on inquiry notice of the Terms based on

representations by Sundance employees, that argument does not align with Sunstone’s proposed

theory of assent. Inquiry notice “in the context of web-based contracts” turns on the “design and

content of the relevant interface.” 49 In other words, “[w]hether a user has inquiry notice of a

browsewrap agreement . . . depends on the design and content of the website and the agreement’s

webpage,” not on prior oral representations or emails discussing the browsewrap. 50 But

regardless, Sunstone’s representations about its Terms did not provide Pepetools with actual or

constructive notice of the Terms. 51 For example, Sunstone cites to an affidavit from Corbin

Worthen (a Sunstone account manager) who insists he directed David Aizenman (an owner of

Pepetools) to the Terms “on multiple occasions . . . when David asked questions about . . .

warranty coverage.” 52 Similarly, Adam Carlson (a customer support manager) communicated

with David Aizenman “on multiple occasions regarding warranties and repairs for products” that

Pepetools had ordered from Sunstone. 53 Carlson also sent Aizenman an email with part of the

warranty section of the Terms pasted in the body of the email. 54 But it is more likely Pepetools

understood these various representations about warranty provisions as governing the relationship

between Sunstone and the end consumer, particularly when the above-cited communications

involved Pepetools’ efforts to direct consumers with complaints back to a Sunstone



49
     Meyer, 868 F.3d at 75.
50
     Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1177 (9th Cir. 2014).
51
  Sunstone cites to Utah law to define inquiry notice as follows: “[I]nquiry notice occurs when circumstances arise
that should put a reasonable person on guard so as to require further inquiry on his part.” Opposition at 9–10 (citing
Muir v. Wasatch Front Waste & Recycling Dist., 547 P.3d 863, 868 (UT App. 2024)).
52
     Dkt. 52-5, Declaration of Corbin Worthen ¶¶ 3–5.
53
     Dkt. 52-6, Declaration of Adam Carlson ¶ 2.
54
     Id. ¶ 6.


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representatives to take advantage of Sunstone’s warranty. 55 Ultimately, as there are no

allegations suggesting Pepetools ever used the website nor assented to its Terms, the court

concludes the forum-selection clause has no effect on the issue of whether to transfer venue.

       II.       Plaintiff’s Choice of Forum

             The court now turns to the remaining relevant venue factors mentioned above. The first

is Plaintiff’s choice of forum. “Unless the balance is strongly in favor of the movant, the

plaintiff's choice of forum-should rarely be disturbed.” 56 However, “[c]ourts . . . accord little

weight to a plaintiff's choice of forum ‘where the facts giving rise to the lawsuit have no material

relation or significant connection to the plaintiff's chosen forum.’” 57 Persuasive authority

suggests a “plaintiff’s choice of forum is also entitled to less deference where a related action is

pending in a different forum, although this principle is generally limited to instances where the

action in the prospective transferee court was filed first and the subject matters of the two suits

are very closely related.” 58

             Here, Pepetools argues the court should accord little weight to Sunstone’s choice of

forum because Sunstone’s allegations in its Second Amended Complaint focus almost

exclusively on Pepetools’ activities in Oklahoma, not Utah. 59 Sunstone disagrees and contends

its allegations focus on events that occurred:

             (1) in Utah, including the parties’ relationship, the development of Sunstone’s
             trademarks, and Sunstone’s damages; (2) in Utah and beyond Oklahoma, including



55
     See, e.g., Declaration of Adam Carlson at 5–15.
56
     Employers Mut. Cas. Co., 618 F.3d at 1167 (citation omitted).
57
     Id. (citation omitted).
58
  Buckeye Pennsauken Terminal LLC v. Dominique Trading Corp., 150 F. Supp. 3d 501, 509 (E.D. Pa. 2015)
(citation omitted).
59
     Motion at 5.


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           consumer confusion; and (3) online, where evidence of much of Pepetools’ infringement
           has already been provided by Sunstone in its complaint. 60

           Courts recognize that “‘[i]ntellectual property infringement suits often focus on the

activities of the alleged infringer, its employees, and its documents; therefore the location of the

alleged infringer’s principal place of business is often the critical and controlling consideration in

adjudicating transfer of venue motions.” 61 Indeed, in the context of intellectual property

infringement, this court has recognized how the forum where the “allegedly infringing activity is

occurring” has a “much stronger connection to the operative facts of the lawsuit” than others. 62

And here, Pepetools’ conduct complained of by Sunstone occurred in Oklahoma. 63 Pepetools’

only office is in Oklahoma; all of its employees are located in Oklahoma; it designed the

allegedly infringing Helix in Oklahoma; and it engaged in all of the other conduct of which

Sunstone accuses it while in Oklahoma. 64 Moreover, as will be explained in greater detail

below, Sunstone brought this action after Pepetools had filed a related lawsuit in Oklahoma. The

substantial factual overlap between the two cases suggests it is actually Sunstone who has sought

to deprive Pepetools of its choice of forum to litigate issues related to its distribution of micro-

metal forming tools. This combined with the fact that the most significant facts giving rise to the

present dispute do not relate to Utah leads the court to give less deference to Sunstone’s later-




60
     Opposition at 7.
61
  Houston Trial Reps., Inc. v. LRP Publ’ns, Inc., 85 F. Supp. 2d 663, 668 (S.D. Tex. 1999) (citing Habitat
Wallpaper and Blinds, Inc. v. K.T. Scott Ltd. P’ship, 807 F. Supp. 470 (N.D.Ill.1992) and Anadigics, Inc. v.
Raytheon Co., 903 F. Supp. 615 (S.D.N.Y.1995)).
62
     Cmty. Television of Utah, LLC v. Aereo, Inc., 997 F. Supp. 2d 1191, 1206 (D. Utah 2014).
63
     Reply at 8.
64
     See Reply at 8–9 (citing Aizenman Decl.).


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selected forum. 65 Still, Sunstone is “at home” in Utah, and the court accords some weight to

Sunstone’s desire to litigate at home. 66 Thus, on balance, this factor is neutral.

       III.      Accessibility of Witnesses and Sources of Proof

              “The convenience of witnesses is the most important factor in deciding a motion under §

1404(a),” 67 and the availability and convenience of key witnesses with material testimony may

outweigh the convenience of numerous, but less important witnesses. 68 “To demonstrate

inconvenience, the movant must (1) identify the witnesses and their locations; (2) ‘indicate the

quality or materiality of the[ir] testimony’; and (3) ‘show[ ] that any such witnesses were

unwilling to come to trial . . . [,] that deposition testimony would be unsatisfactory[,] or that the

use of compulsory process would be necessary.’” 69 But “[t]he ability to compel the attendance

of witnesses is generally relevant only to third-party witnesses, because employees of the parties,

as a practical matter, will be available in any venue by virtue of the employment relationship.” 70

              Here, all material witnesses appear to be employees or officers of the parties, not third-

party witnesses. Indeed, Pepetools insists the most knowledgeable and material witnesses related

to Pepetools’ alleged trademark infringement are “Oklahoma-based officers and employees of

Pepetools” as described in its initial disclosures.71 Sunstone responds by identifying three, third-

party witnesses with potentially material testimony: Corbin Worthen, Kevan Hale, and Brittany




65
     See Buckeye Pennsauken Terminal LLC, 150 F. Supp. 3d at 509 (gathering citations).
66
     See Houston Trial Reps., Inc., 85 F. Supp. 2d at 668.
67
     Employers Mut. Cas. Co., 618 F.3d at 1169 (citation omitted).
68
     See id.; Navajo Nation v. Urb. Outfitters, Inc., 918 F. Supp. 2d 1245, 1257 (D.N.M. 2013).
69
     Employers Mut. Cas. Co., 618 F.3d at 1169 (citations omitted) (alterations in the original).
70
     Navajo Nation, 918 F. Supp. 2d at 1257 (citations omitted).
71
     Motion at 6–7.


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Mormann. 72 These witnesses purportedly reside in Utah, and Sunstone seeks to call them to be

material “witnesses about the Terms and Conditions,” described above. 73 But this court and the

Western District of Oklahoma are in agreement that Pepetools is not bound by the Terms. 74

These witnesses, therefore, are not material—at least as to the issue identified by Sunstone. And

again, “‘[i]ntellectual property infringement suits often focus on the activities of the alleged

infringer, its employees, and its documents; therefore the location of the alleged infringer’s

principal place of business is often the critical and controlling consideration’ in adjudicating

transfer of venue motions.” 75 Witnesses with knowledge of these significant facts are the most

material to this case, and they all reside in Oklahoma.

             Still, Pepetools has not demonstrated inability to obtain needed testimony from third-

party material witnesses if the case remains in Utah, and such a witness apparently does not

exist. Most of the material witnesses in this case are employees of Pepetools and are located in

Oklahoma. And “as a practical matter, [they] will be available in [either] venue by virtue of the

employment relationship.” 76 Thus, the court concludes that, on balance, this factor is neutral.

       IV.      Enforceability of a Judgment

             While Pepetools argues any judgment would have to be enforced against it in Oklahoma,

this does not create an issue related to the enforceability of a judgment to warrant transfer of

venue. Indeed, 28 U.S.C. § 1963 allows for registration and enforcement of a District of Utah

judgment in the Western District of Oklahoma, and such a judgment has “the same effect as a


72
     See Opposition at 12.
73
     Id.
74
  See Pepe Tools, Inc. v. Sunstone Eng’g, LLC, No. CIV-23-907-D, 2024 WL 3263844, at *8 (W.D. Okla. July 1,
2024).
75
     Houston Trial Reps., Inc., 85 F. Supp. 2d at 668 (citations omitted).
76
     Navajo Nation, 918 F. Supp. 2d at 1257 (citations omitted).


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judgment of the district court of the district where registered and may be enforced in like

manner.” 77 Thus, this factor is neutral.

       V.       Difficulties Arising from Congested Dockets

             “When evaluating the administrative difficulties of court congestion, the most relevant

statistics are the median time from filing to disposition, median time from filing to trial, pending

cases per judge, and average weighted filings per judge.” 78 Each one of these metrics reveals the

Western District of Oklahoma has a substantially less congested docket than the District of

Utah. 79 Accordingly, this factor weighs in favor of transfer.

       VI.      Cost of Making Necessary Proof

             As will be explained in more detail below, the cases pending in the District of Utah and

Western District of Oklahoma are substantially similar, and the disclosed witnesses in each case

are nearly identical. The costs incurred by parties to make the necessary proof in these cases will

be substantially reduced if the cases are litigated in the same jurisdiction. Thus, this factor

weighs in favor of transfer.

       VII.     Advantages of Having Local Court Determine Questions of Local Law

             “When the merits of an action are unique to a particular locale, courts favor adjudication

by a court sitting in that locale.” 80 When considering this factor, the Tenth Circuit appears to


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  28 U.S.C. § 1963 reads: “A judgment in an action for the recovery of money or property entered in any court of
appeals, district court, bankruptcy court, or in the Court of International Trade may be registered by filing a certified
copy of the judgment in any other district or, with respect to the Court of International Trade, in any judicial district,
when the judgment has become final by appeal or expiration of the time for appeal or when ordered by the court that
entered the judgment for good cause shown. Such a judgment entered in favor of the United States may be so
registered any time after judgment is entered. A judgment so registered shall have the same effect as a judgment of
the district court of the district where registered and may be enforced in like manner.”
78
     Employers Mut. Cas. Co., 618 F.3d at 1169 (citations omitted).
79
     See Motion at 8–9 (citing Dkt. 48-6, United States District Courts – National Judicial Caseload Profile).
80
     Employers Mut. Cas. Co., 618 F.3d at 1169–70 (citations omitted).


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consider both the state substantive law governing the dispute and the state where the alleged

injury occurred. 81 Here, the controversy is between a Utah limited liability company and an

Oklahoma corporation. Sunstone asserts various federal and Utah claims against Pepetools for

alleged misconduct occurring entirely in Oklahoma. Both Utah and Oklahoma appear to have an

interest in the resolution of this case, and both districts are fully competent to apply Utah

substantive law when necessary and adjudicate the matter. Indeed, all Utah-specific claims in

this case have comparable parallels under federal law or Oklahoma law. This factor is neutral.

       VIII. Other Practical Considerations

               Courts possess broad discretion to consider other factors of a practical nature that would

make “litigation . . . more easy, expeditious, and economical . . . .” 82 Relevant here, “[c]ourts

have recognized that the presence of an earlier-filed, related case in the transferee forum bears

considerable weight in determining whether transfer is appropriate.” 83 Indeed, district courts in

the Tenth Circuit appear to agree that “the presence of a related case in the transferee forum is a

powerful reason to grant a change of venue.” 84 For example, one district court found

transferring a case to another venue where a related case had been filed seven months prior

would “save both judicial and party resources” as “[t]he same witnesses will likely be relevant to




81
     See id.
82
     Id. at 1170.
83
  Thompson v. Nat’l Football League, No. 1:13-CV-00367, 2014 WL 1646929, at *3 (W.D. Pa. Apr. 24, 2014); see
also Cont’l Grain Co. v. The FBL-585, 364 U.S. 19, 26 (1960) (“To permit a situation in which two cases involving
precisely the same issues are simultaneously pending in different District Courts leads to the wastefulness of time,
energy and money that [§] 1404(a) was designed to prevent.”).
84
  Collier v. Am. Greetings Corp., No. 10-CV-625-JHP-FHM, 2012 WL 13020817, at *3 (N.D. Okla. June 19, 2012)
(gathering citations), report and recommendation adopted, No. 10-CV-625-JHP-FHM, 2012 WL 13027384 (N.D.
Okla. July 6, 2012);


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both [actions]” and “proceeding with both actions in the same district would save witnesses from

having to travel and testify in cases in two separate states.” 85

           A review of the earlier-filed Oklahoma action and the present case reveals a substantial

overlap between the two cases. The cases involve identical parties, 86 and the cases center on

Pepetools’ alleged infringement of Sunstone’s intellectual property due to its offering for sale the

Helix welder and other products. 87 Both cases concern the parties’ distribution relationship, 88

Sunstone’s attempts to formalize that relationship in a written agreement, 89 the inability of the

parties to formalize their relationship, 90 and Pepetools’ alleged misuse of Sunstone’s trademarks

and other intellectual property after the parties’ relationship soured. 91 Moreover, recently

exchanged Rule 26 disclosures in both cases reveal that virtually identical witnesses will testify

in both trials. 92 Indeed, seventeen of Sunstone’s eighteen total witnesses are identical in the two

actions, and all twenty-two of Pepetools’ witnesses are identical in the two actions. 93 These

witnesses reside in Oklahoma, Utah, California, New Mexico, Idaho, Texas, Ohio, New Jersey,




85
   Telecomm. Sys., Inc. v. TracBeam, L.L.C., No. 11-CV-02519-WYD-MJW, 2012 WL 371578, at *2 (D. Colo. Feb.
6, 2012).
86
     Compare Second Amended Complaint, with Case No.: CIV-23-907-D Demand for Jury Trial.
87
     Compare Second Amended Complaint, with Dkt. 48-1, Case No.: CIV-23-907-D Demand for Jury Trial.
88
     Compare Second Amended Complaint ¶¶ 45–48, with Case No.: CIV-23-907-D Demand for Jury Trial ¶¶ 8–10.
89
     Compare Second Amended Complaint ¶¶ 45–48, with Case No.: CIV-23-907-D Demand for Jury Trial ¶¶ 12–16.
90
     Compare Second Amended Complaint ¶ 46, with Case No.: CIV-23-907-D Demand for Jury Trial ¶¶ 16, 23.
91
  Compare Second Amended Complaint, with Case No.: CIV-23-907-D Demand for Jury Trial ¶¶ 36–37, and Dkt.
52-1, Defendant’s Answer, Affirmative Defenses, and Counterclaims ¶¶ 78–80.
92
     Motion at 6.
93
  Compare Dkt. 48-2, Defendant and Counterclaim Plaintiff’s Rule 26(a)(1) Initial Disclosures, with Dkt. 48-3,
Plaintiff’s Rule 26(a)(1) Initial Disclosures; Compare Dkt. 48-4, Plaintiff/Counter-Defendant Pepe Tools, Inc.’s
Initial Disclosures Pursuant to Fed. R. Civ. P. 26(A)(1), with Dkt. 48-5, Defendant Pepe Tools, Inc.’s Initial
Disclosures Pursuant to Fed. R. Civ. P. 26(A)(1).


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and Canada. 94 It makes little sense to require the parties and these geographically diverse

witnesses to expend substantial amounts of money to travel and appear in two different trials in

two different states when a single forum is competent to resolve all the parties’ claims.

Duplicative litigation in two states would also waste judicial resources. These other practical

factors weigh strongly in favor of transfer.

                                           CONCLUSION

           Having reviewed the above-mentioned factors, the court concludes transfer is appropriate

in this case. Pepetools’ Motion 95 is GRANTED, and the case is hereby transferred to the

Western District of Oklahoma for all further proceedings.

           SO ORDERED this 25th day of March 2025.

                                                  BY THE COURT:



                                                  ROBERT J. SHELBY
                                                  United States Chief District Judge




94
     See Motion at 6.
95
     Dkt. 48.


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